
Barnard, P. J.
The extent of the injury to the horse alleged to have been caused by the accident depended very much, if not entirely, on the testimony of the plaintiff and his brother Edward, who was riding the horse when he was injured. It is true that these witnesses if credited would call for a substantial verdict, but the case shows that the plaintiff applied to a veterinary physician to pronounce the horse sound within a few days after the accident The plaintiff says that he was requested to nave this examination made by the physician at the request of one McCoy, who knew of the injury the horse sustained and wanted to buy him. The doctor did not discover the extent of the injury as claimed by the plaintiff. He said the horse was lame but he discovered no dislocated hip. The jury had abundant reason for placing the injury at a nominal sum in case they discredited these two witnesses.
The judgment should be affirmed, with costs.
Pratt, J. concurs; Dykman, J., dissents. (See opinion in next case.)
